Case 1:20-cv-03699-JGK-RWL Document 61-2 Filed 01/14/22 Page 1 of 10




             EXHIBIT B
      Case 1:20-cv-03699-JGK-RWL Document 61-2 Filed 01/14/22 Page 2 of 10




 PDV USA, Inc.
                                                            No. 20-cv-03699-JGK
                     Plaintiff,
 v.                                                         DEFENDANT’S RESPONSE TO
                                                            PLAINTIFF’S FIRST SET OF
                                                            INTERROGATORIES
 Interamerican Consulting, Inc.


                     Defendant.


        DEFENDANT INTERAMERICAN CONSULTING, INC.’S OBJECTIONS
        AND ANSWERS TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

        Defendant, Interamerican Consulting, Inc. (“Defendant”), responds to the First Set of

Interrogatories (the “Interrogatories”) served by Plaintiff, PDV USA, Inc. (“Plaintiff”), as follows:

                                   GENERAL OBJECTIONS

        1.      Defendant objects to each of PDV USA’s Interrogatories as impermissible to the

extent they are inconsistent with Local Rule 33.3.

        2.      Defendant objects to each of Plaintiff’s Interrogatories to the extent that Defendant

seeks the production of materials, or the disclosure of information protected from discovery by the

attorney-client privilege, the work-product doctrine, or any other applicable protections.

        3.      The following responses are made solely for the purposes of this action. Each

response is subject to all objections as to competence, relevance, materiality, and admissibility,

and any and all other objections and grounds which objections would require the exclusion of any

writing produced herein at trial, all of which objections and grounds are reserved and may be

interposed at the time of trial.
    Case 1:20-cv-03699-JGK-RWL Document 61-2 Filed 01/14/22 Page 3 of 10




       4.      Defendant has not completed its investigation and discovery in this action and has

not completed its preparation for trial that may be held thereon. Any response herein is based upon

information presently known to Defendant.

                                       SPECIFIC RESPONSES

       1.      Describe in detail Interamerican’s performance under the Agreement, including,

without limitation, by setting out adequate and complete details of any and all services rendered.

       RESPONSE: Defendant objects to this Request as impermissible under Local Rule
       33.3.

       2.      Identify the following persons and/or entities that Interamerican referred to in the

Final Report and describe in detail any meetings, discussions, or communications with them,

including, but not limited to, those referred to in the April 18, May 16, May 30, and June 13

sections of the Final Report: “policy makers,” “opinion leaders,” “public sector actors,” “public

sector stakeholders,” “private sector actors,” “private sector entities,” “private sector

organizations,” “important interlocutors associated with the target private sector organizations,”

“interlocutors,” “target stakeholders,” “important stakeholders,” and “key public officials.”

       RESPONSE: Defendant objects to this Request as outside the scope of Local Rule
       33.3. Subject to Defendant’s General Objections and to the extent this Request seeks
       names of witnesses with knowledge of information relevant to the subject matter of
       the action, Interamerican provides the following:

       a.      Arnaldo Arcay

       b.      Jose Luis De Jongh-Atencio

       c.      Dustin Rozeboom

       d.      Judith Colbert

       e.      Rafael Gomez

       f.      Edoardo Orsoni
    Case 1:20-cv-03699-JGK-RWL Document 61-2 Filed 01/14/22 Page 4 of 10




       g.     Guillermo Blanco

       h.     Pio Gonzalez

       i.     Jose Angel Pereira

       j.     Gustavo Cardenas

       k.     Alejandro Escarra

       l.     Elio Tortolero

       m.     Raul Gorrin

       n.     Hugo Perera

       o.     Esther Nuhfer

       p.     Bertica Cabrera

       q.     Pete Sessions

       r.     David Rivera

       3.     Describe in detail any and all meetings, discussions, and communications that You

had with any employee, agent, director, officer, or representative of PDV USA, PDVSA, Citgo

Petroleum Corporation, and/or anyone associated with the Venezuelan Government, including, but

not limited to Nelson Ferrer, Ysmel Serrano, Delcy Rodríguez, Simón Zerpa, and Cesar Triana, in

connection with the Agreement.

       RESPONSE: Defendant objects to this Request as impermissible under Local Rule
       33.3.
     Case 1:20-cv-03699-JGK-RWL Document 61-2 Filed 01/14/22 Page 5 of 10




       4.      Describe in detail any meetings, discussions, or communications that you had with

“the opposition for anti-Maduro protests,” Leopoldo López, Raúl Gorrín, Esther Nuhfer, Hugo

Pereira, or any Venezuelan opposition or anti-Maduro leaders, organizations, entities, parties,

forces, or factions, or any representative of any of the individuals, groups, or entities mentioned in

this interrogatory, in connection with the Agreement or otherwise relating to PDV USA, PDVSA,

and/or Citgo Petroleum Corporation.

       RESPONSE: Defendant objects to this Request as impermissible under Local Rule
       33.3.

       5.       Describe in detail the facts underlying the statements attributed to David Rivera in

the May 13, 2020 CE Notificias Financieras (English) article entitled “PDVSA denounces former

U.S. congressman for Payment of $US15M” and in the May 14, 2020 Miami Herald article by Jay

Weaver and Antonio Maria Delgado entitled “Rivera didn’t register as a foreign agent in $50

million contract with Venezuela oil firm,” including the following statements: “ask the boys of

Citgo 6”; “They handled that entire operation, including all the money, in coordination with the

Venezuelan opposition . . . That's all I know”; and “All those funds went to the opposition for anti-

Maduro protests in the summer of 2017. I never saw a penny of it.”

       RESPONSE: Defendant objects to this Request as impermissible under Local Rule
       33.3.

       6.      Describe in detail to whom, how, when, and why Interamerican or David Rivera

disbursed funds received from PDV USA or PDVSA, including, but not limited to, describing in

detail the $625,000 that Interamerican transferred to Krome Argonomics LLC on March 27, 2017

and the $3,750,000 that Interamerican transferred to Interglobal Yacht Management LLC between

March 31, 2017 and April 24, 2017. Include in your description of each payment or transfer, the
    Case 1:20-cv-03699-JGK-RWL Document 61-2 Filed 01/14/22 Page 6 of 10




identity of the immediate recipient, any ultimate intended recipient, the purpose of the payment,

whether the payment was made in connection with the Agreement, and who approved the payment.

       RESPONSE: Defendant objects to this Request as impermissible under Local Rule
       33.3.

       7.      Identify all bank accounts used by Interamerican or David Rivera.

       RESPONSE: Subject to Defendant’s General Objections and in accordance with Fed.
       R. Civ. P. 33(d), Interamerican will produce relevant bank account records that are
       in its possession, custody or control.

       8.      Describe in detail the “series of pro-active steps [proposed by Interamerican] to

pursue on behalf of the Client which would encompass areas of mutual concern between the Client

and the United States,” to which the April 4 entry of the Final Report refers.

       RESPONSE: Defendant objects to this Request as impermissible under Local Rule
       33.3.

       9.      Describe in detail to what strategies Interamerican referred in the portion of the

“Interim Recommendations” section of the Final Report that states that “success will be

determined by the Client’s determination to follow-up on the strategies that have been

implemented during the last several weeks.”

       RESPONSE: Defendant objects to this Request as impermissible under Local Rule
       33.3.

       10.      Describe in detail “the stated goals and purposes of the Consultant proposal”

referred to in the “Interim Recommendations” section of the Final Report.

       RESPONSE: Defendant objects to this Request as impermissible under Local Rule
       33.3.

       11.     Describe in detail the “options and important steps” referred to in the portion of the

May 30 section of the Final Report that states: “The Consultant provided Client with several
     Case 1:20-cv-03699-JGK-RWL Document 61-2 Filed 01/14/22 Page 7 of 10




options and important steps that would be necessary to pursue the original goals and objective vis-

à-vis public sector actors in the United States.”

        RESPONSE: Defendant objects to this Request as impermissible under Local Rule
        33.3.

        12.    Describe in detail how the “Consultant has facilitated the development of key

elements that would expedite such positive relationship with interested parties in the United

States,” including identifying the “interested parties in the United States” to whom this refers, as

stated in the June 13 section of the Final Report.

        RESPONSE: Defendant objects to this Request as impermissible under Local Rule
        33.3.

        13.    Describe in detail the “framework for a strategic action plan that can be utilized as

a vehicle to both monitor the responsiveness of interested parties to the Client as well as channel

discussions and dialog toward achieving the Client’s overall goals and objectives” that, according

to the June 21 section of the Final Report, Interamerican provided to the “Client,” including to

whom the “framework” was provided and when.

        RESPONSE: Defendant objects to this Request as impermissible under Local Rule
        33.3.

        14.    Describe in detail the “strategic plan” referred to in the June 21 section of the Final

Report, including the “multi-faceted efforts toward both public sector officials and opinion leaders

as well as targeted private sector stakeholders,” the “plan to support efforts enhancing the long-

term reputation and standing of the Client,” and how Interamerican “developed and implemented”

that plan.

        RESPONSE: Defendant objects to this Request as impermissible under Local Rule
        33.3.
    Case 1:20-cv-03699-JGK-RWL Document 61-2 Filed 01/14/22 Page 8 of 10




       15.     Describe in detail the “critical business communications” referred to in paragraph

14 of Interamerican’s Counterclaim.

       RESPONSE: Defendant objects to this Request as impermissible under Local Rule
       33.3.

       16.     Describe the manner and timeframe in which You have retained Documents or

Communications, including electronically-stored information, that may be relevant to this Action.

       RESPONSE: Defendant objects to this Request as impermissible under Local Rule
       33.3.

       17.     Identify all electronic and non-electronic storage devices, including email accounts,

hard drives, shared drives, servers, smartphones, all other types of electronic storage, filing

cabinets, boxes, and all other types of non-electronic storage, in which Documents or

Communications bearing on any of the parties’ claims or defenses in this Action may now, or may

in the past have been, located or found.

       RESPONSE: Subject to Defendant’s General Objections, Defendant states that the
       following electronic and non-electronic storage devices contain documents or
       communications relating to parties’ claims or defenses in this Action:

                   a. Email of account of David Rivera: rivera2002@comcast.net

                   b. Personal Computer of David Rivera

                   c. WhatsApp Account of David Rivera
Case 1:20-cv-03699-JGK-RWL Document 61-2 Filed 01/14/22 Page 9 of 10
    Case 1:20-cv-03699-JGK-RWL Document 61-2 Filed 01/14/22 Page 10 of 10




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on November 1, 2021, a copy of the foregoing has been

furnished via electronic mail to all counsel of record.



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